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                                            Slide 1: Opinions


               • Marketing and promotional efforts contributed to
                 off-label sales of Neurontin


               • Off-label
                 Off label sales of Neurontin would have continued
                 even if Pfizer had stopped off-label promotion


               • Off-label marketing influenced substantially all
                 physicians prescribing Neurontin


               • Suppression of serious adverse events enabled
                 off-label sales of Neurontin

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                           Slide 2: The FDA Approves Drugs

               • Drugs are approved only for specific uses


               • Neurontin was approved ONLY for:
                      – Adjunctive therapy for epilepsy (1993)
                      – Adjunctive therapy for epilepsy for pediatric use (2000)
                      – Post-herpetic neuralgia (2002)


               • Neurontin was NEVER approved for the
                 treatment of pain
                              p


               • Neurontin is only approved for dosages
                 up to 1800 mg/day

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                    Slide 3: Neurontin and Off-Label Sales



               •       Warner-Lambert began selling Neurontin in
                       January 1994

               •       Projected
                       P   j t d lif
                                  lifetime
                                      ti   sales
                                             l off N
                                                   Neurontin
                                                         ti were
                       forecast to be only $500 million

               •       Actual lifetime sales of Neurontin were greater
                       than $10 billion




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                             Slide 4: Neurontin Prescriptions
                                 by Diagnostic Category




         Prescriptions for gabapentin, by diagnostic category. Estimates of diagnosis-linked prescribing provided by Pfizer, Inc.



        Source: Steinman et al., Annals of Internal Medicine,145(4), 2006, pp. 284-294.
                                                                                                   ©2006 by American College of Physicians

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       Slide 5: Neurontin Uses by Diagnostic Category
                                     Pfizer_RGlanzman_0000665
                                      f      G                (enlarged)
                                                              (        )




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                                      Slide 6: Off-Label Sales

             • Off-label sales of Neurontin grew
                    – From 15 % of all sales in 1994
                    – To 90 % in 2003




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                 Slide 7: Academic Study by Radley et al.


                    Neurontin “had the highest proportion of
                   off-label
                     ff l b l     prescriptions”
                                         i ti  ”  among     160
                   commonly prescribed drugs and “only 20%
                   of its off
                           off-label
                               label use had strong support [for
                   its clinical efficacy] compared with 80% with
                   limited or no support.”
                                      pp




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                                    Slide 8: Off-Label Uses as a
                                     Percentage of Total Uses

                                                                                % Off-Label Uses


   Neurontin Before Off-Label Marketing (1994)                                              15%


   Average Among Commonly Prescribed Drugs                                                  21%


   Neurontin After Off-Label Marketing (2003)                                               90%




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                                                       Slide 9




                               Warner Lambert and Pfizer
                               Warner-Lambert
                                marketed Neurontin for
                                     off label use
                                     off-label




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                    Slide 10: Promotional Efforts Targeted
                                 Psychiatrists
                                    Pfizer_RGlanzman_0000748 (enlarged)




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                 Slide 11: Warner-Lambert Business Plan




                        “Medical
                         Medical education drives this market!!”
                                                       market!!




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                                                      Slide 12




                         Pfizer continued the off-label
                                              off label promotion
                               initiated by Warner-Lambert




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                                       Slide 13: Conclusions


               • Marketing and promotional efforts contributed to
                 off-label sales of Neurontin


               • Off-label
                 Off label sales of Neurontin would have continued
                 even if Pfizer had stopped off-label promotion


               • Off-label marketing influenced substantially all
                 physicians prescribing Neurontin


               • Suppression of serious adverse events enabled
                 off-label sales of Neurontin

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